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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 H. CRISTINA CHEN-OSTER, SHANNA ORLICH,                      Case No. 1:10-cv-6950-AT-RWL
 ALLISON GAMBA, and MARY DE LUIS,

                        Plaintiffs,
                                                             NOTICE OF PLAINTIFFS’
               -against-                                     UNOPPOSED MOTION FOR
                                                             PRELIMINARY APPROVAL OF
 GOLDMAN SACHS & CO. LLC and                                 CLASS ACTION SETTLEMENT
 THE GOLDMAN SACHS GROUP, NC.,

                       Defendants.




       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Plaintiffs’ Unopposed Motion for Preliminary Approval, the Declaration of Adam T. Klein,

and the Parties’ Stipulation and Settlement Agreement (the “Settlement Agreement”) and the

exhibits thereto, Plaintiffs respectfully request that the Court enter an Order: (1) granting

preliminary approval of the Settlement Agreement, (2) approving the proposed Notice, attached

as Exhibit 1 to the Settlement Agreement, and (3) scheduling a final fairness hearing for a date

that is at least 100 calendar days after preliminary approval.

       Plaintiffs submit a Proposed Order, attached as Exhibit 2 to the Settlement Agreement,

for the Court’s convenience.

                                      Respectfully submitted,

 Dated: May 8, 2023                   /s/ Adam T. Klein

                                      Adam T. Klein
                                      Cara E. Greene
                                      Christopher M. McNerney
                                      Michael C. Danna
                                      Sabine Jean
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Dated: May 8, 2023        /s/ Kelly M. Dermody

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